                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                  Cr. No. 21-173 (PJS/DTS)


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )      DEFENDANT’S MOTION
               v.                            )      FOR DISCLOSURE OF POST-
                                             )      CONSPIRACY STATEMENTS OF
ANTON JOSEPH LAZZARO,                        )      CO-DEFENDANTS OR UNINDICTED
                                             )      CO-CONSPIRATORS
                                             )
                      Defendant.             )


       The Defendant, Anton Lazzaro, by and through his undersigned attorneys, respectfully

moves the Court, pursuant to Rule 16(c) of the Federal Rules of Criminal Procedure and the

authority of Bruton v. United States, 391 U.S. 123 (1968) for an order as follows:

       1. Compelling the Government to give notice and disclosure of intent to use or refer to,

and/or introduce into evidence at trial the statements or confessions of any co-defendant or

unindicted co-conspirator, together with a designation of which statement or confessions the

Government plans to so utilize; and

       2. Granting the Defendant leave to file motion for severance, suppression, and/or in limine

as indicated by the Government’s response and a review of the relevant Bruton materials.

       This motion is based upon the files, records and proceedings herein, such testimony as may

be presented at the motion hearing, and any briefing the Court may require thereafter.




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Respectfully submitted,


Dated: January 14, 2022                      /s/Catherine Turner
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Dated: January 14, 2022                      /s/Zachary Newland
                                             Zachary Lee Newland
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was duly filed and served

upon counsel of record, via the Court’s CM/ECF system, this 14th day of January 2022.

                                                                    /s/Catherine Turner
                                                                    Catherine Turner




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